           Case 24-80525-BSK                   Doc 8      Filed 07/08/24 Entered 07/08/24 15:53:02                           Desc Main
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                                                       UNITED STATES BANKRUPTCY COURT
                                                        FOR THE DISTRICT OF NEBRASKA

                Fill in this information to identify your case:


     Debtor 1          Casey Michael Timm                                                Case No.        24-80525
                       First Name        Middle Name       Last Name



     Debtor 2                                                                            ☐ Check if this is an Amended Plan
 (Spouse, if filing)   First Name        Middle Name       Last Name




Local Form 3015-1 (Nebraska)

Chapter 13 Plan                                                                                                                     Revised 01/2022

     Notices

To Debtors:            You must use this Local Form 3015-1 Chapter 13 Plan in your Chapter 13 bankruptcy case. If you
                       do not use this form, the court will not confirm your plan.

                       Provisions of this plan that seek to limit the amount of a secured claim or the value of collateral or which
                       seek to avoid a security interest or strip a lien are not effective. To limit the amount of any claim or the
                       value of collateral you must object to the claim. To avoid a security interest or strip a lien, you must file an
                       adversary proceeding or motion, as appropriate.

                       You must check one box below. If you want nonstandard provisions in Part 11 of this plan to be effective,
                       you must check the box “Included”. If you check the box “Not Included”, if you check both boxes, or if you
                       do not check a box, any provisions contained in Part 11 are not effective.

                          Nonstandard provisions in Part 11 are:                   ☒ Included        ☐ Not included


To Creditors:          Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

                       You must timely file a proof of claim in this case to be paid under this plan. The debt amount and
                       the value of any collateral stated in your proof of claim controls the amount you will be paid. The
                       Debtor(s) may object to these amounts. The Debtor(s) must file a motion or an adversary proceeding to
                       avoid your security interest. Secured creditors are paid interest in the amount and from the date stated.

                       You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy
                       case. If you do not have an attorney, you may wish to consult one.
                       If you oppose how this plan treats your claim or any provision of this plan, you must file an objection to
                       confirmation no later than the date designated in the attached Notice of Resistance Deadline. The court
                       may confirm this plan without further notice if no objection is filed. See Fed. R. Bankr. P. 3015.


     Part 1:              Plan Payments and Length of Plan

A.    Disposable Income. The Debtor(s) submit to the Chapter 13 trustee, all projected disposable income received during
      this plan’s commitment period. The payment schedule follows: (Insert additional lines if needed)

      A. Monthly Payment Amount (include any previous
      payments)                                                        B. Number of Payments             Base Amount (A × B)
                                                                       Payments Made To Date:

      $620                                                             40                                $24,800.00
      $1,032                                                           20                                $20,640.00
      $

                                                                              Total Plan Base Amount: $45,440.00

B.    Payment Method. The Debtor(s) will make regular payments to the trustee from future income as follows:

      Check all that apply:


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      ☐   Pursuant to a payroll deduction order. Complete the following :
          Employee's name from whom the check payment is deducted:
          Employer's name, address, city, state, phone:



          The Debtor is paid:        ☐ Monthly          ☐ Twice Monthly                ☐ Weekly        ☐ Biweekly     ☐ Other:

      ☒   Direct payments to the trustee.
      ☐   Other (specify method of payment):
For cases with employer payroll deductions, debtors must pay the trustee directly by money order or cashier’s check until
the deduction begins. For plans requiring pre-confirmation adequate protection payments or lease payments, debtors
must immediately begin making plan payments to the trustee. For plans without pre-confirmation payments, debtors must
begin making plan payments within 30 days after filing the bankruptcy petition.

This plan cures any arrearage in payments to the trustee under any prior plan in this case.


     Part 2:          Order of Payment of Claims

The trustee will deduct trustee fees under 28 U.S.C. § 586(e). The trustee will pay claims in the following order, and
unless otherwise provided, claims within each class will be paid pro rata:
1.    Pre-confirmation payments for adequate protection or leases of personal property;

2.    Minimum monthly payments to secured creditors listed in Part 6 of this plan, minimum arrearage payments and
      regular executory contract payments due on executory contracts and leases listed in Part 7, and minimum monthly
      payments on arrearages for priority domestic support claims under 11 U.S.C. § 507(a)(1)(A) listed in Part 5(B);

3.    Debtor’s attorney’s fees and costs approved by the court (The Debtor’s attorney should not designate a monthly
      payment for attorney fees);

4.    Secured claims listed in Part 6, arrearages on executory contracts and leases listed in Part 7, and domestic support
      claims under 11 U.S.C. § 507(a)(1)(A) listed in Part 5(B);
5.    Other administrative expense claims under 11 U.S.C. § 503 and Chapter 7 trustee compensation allowed under 11
      U.S.C. § 1326(b)(3);

6.    Other priority claims in 11 U.S.C. § 507(a) including post-petition tax claims under 11 U.S.C. § 1305;
7.    Payments on co-signed unsecured claims listed in Part 8;

8.    General unsecured claims.


     Part 3:          Treatment of § 1326(a) Pre-Confirmation Adequate Protection and Lease Payments

The trustee will pay the creditors listed below pre-confirmation adequate protection payments on claims secured by
personal property and pre-confirmation lease payments for leases of personal property without a court order. Debtors who
propose pre-confirmation payments must immediately begin making plan payments to the trustee. Creditors must timely
file a claim to receive payment. The trustee will pay a creditor within 30 days after the creditor files a proof of claim unless
the trustee does not have funds available within 7 working days before 30-day period ends. Post-confirmation payments
are paid under Parts 6 and 7 of this plan.
                                                                                           Last Four
                                                                                           Digits of   Date Next
Creditor's Name                      Creditor's Full Address                               Account #   Payment is Due Payment Amount

Global Lending Services LLC         Attn: Bankruptcy, PO Box 10437, Greenville, SC 29603   8018        07/25/24       $337


     Part 4:          Treatment of Administrative Claims

The trustee will deduct trustee fees from each payment the trustee receives. The maximum amount of Chapter 13
attorney fees and expenses (Standard Allowable Amount “SAA”) that a debtor’s attorney may include in this plan is in
Neb. R. Bankr. P. 2016-1(A)(4) and Appendix “K”. A debtor’s attorney must seek additional fees or costs over the SAA
under the “ALC Fees” process or in a separate fee application. Fees and costs requested are:




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SAA Fees Requested                              Fees Received Before Filing                     Balance of SAA Fees Paid in Plan
$4,400.00                                      $3,106.00                                       $1,294.00




SAA Expenses Requested                          Expenses Received Before Filing                 Balance of SAA Expenses Paid in Plan
$300.00                                        $0.00                                           $300.00




     Part 5:            Treatment of Priority Claims

All claims entitled to priority under 11 U.S.C. § 507(a) must be paid in full in deferred cash payments unless the holder of
a particular claim agrees to a different treatment, except for a priority claim under 11 U.S.C. § 507(a)(1)(B). See 11 U.S.C.
§ 1322(a). Also, all pre-petition penalties, and post-petition penalties and interest, which have attached or will be attached
to any such claim, must be treated as a general unsecured claim, and are not entitled to priority.

A.    Domestic Support Obligations
      ☒     None. If “None” is checked, you do not need to complete or include the rest of § 5(A).

B.    Arrearages Owed to Domestic Support Obligation Holders Under 11 U.S.C. § 507(a)(1)(A)

      ☒     None. If “None” is checked, you do not need to complete or include the rest of § 5(B).

C.    Domestic Support Obligations Assigned to or Owed to a Governmental Unit Under 11 U.S.C. § 507(a)(1)(B)

      ☒     None. If “None” is checked, you do not need to complete or include the rest of § 5(C).

D.    Priority Tax Claims Including Post-Petition Tax Claims Allowed Under 11 U.S.C. § 1305

      ☒     None. If “None” is checked, you do not need to complete or include the rest of § 5(D).

E.    Chapter 7 Trustee Compensation Allowed Under 11 U.S.C. § 1326(b)(3)
      ☒     None. If “None” is checked, you do not need to complete or include the rest of § 5(E).

F.    Other Priority Claims

      Provisions for treatment must be in Part 11 of this plan.


     Part 6:            Treatment of Secured Claims

A.1 Home Mortgage Claims (including claims secured by real property the Debtor(s) intend to retain)
      ☐     None. If “None” is checked, you do not need to complete or include the rest of § 6(A).

      Unless otherwise provided in this plan, the Debtor(s) will pay all post-petition mortgage payments directly to each
      mortgage creditor as they come due, beginning with the first due date after the case is filed. The mortgage creditor will
      retain any lien securing its claim. Any pre-petition arrearage must be paid through this Chapter 13 plan with interest
      provided below. The amount of pre-petition arrears is determined by the proof of claim, subject to the right of the
      Debtor(s) to object.


                                                                                                           Minimum Monthly
                                                                          Pre-Confirmation                 Payment Amount
                                                           Estimated Pre- Interest Rate &  Post-           on              Total Payments on Pre-
                                                           Petition       Dollar Amount    Confirmation    Pre-Petition    Petition Arrears Plus
Creditor's Name                  Collateral                Arrearage      Limit (if any)   Interest Rate   Arrears         Interest



West Gate Bank                   Personal Residence                     2.875%             2.875%                           $0.00



Veridian Credit Union            Personal Residence                     7.000%             7.000%                           $0.00




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A.2 Claims Secured by Real Property to be Paid in Full
      ☐    The following claims secured by real property will be paid in full through the Chapter 13 plan:

                                                                                          Post-
                                                         Pre-Confirmation Interest Rate & Confirmation     Minimum Monthly Total Payments Plus
Creditor's Name                    Collateral            Dollar Amount Limit (if any)     Interest Rate    Payment Amount Interest
--                                 --                    --            --                 --               --              --


B.    Post-Confirmation Payments to Creditors Secured by Personal Property
      Post-confirmation payments to creditors holding claims secured by personal property will be paid as set forth in
      subparagraphs (1) and (2):

      1.   Secured Claims excluded from 11 U.S.C. § 506
           ☐    None. If “None” is checked, you do not need to complete or include the rest of § 6(B)(1).
           Claims listed in this subsection are debts secured by a purchase money security interest in a personal motor
           vehicle, incurred within 910 days of filing of the bankruptcy OR debts secured by a purchase money security
           interest in “any other thing of value,” incurred within one year prior to filing of the bankruptcy. These claims will be
           paid in full, with interest as provided below. Unless otherwise ordered by the court, the claim amount stated on a
           proof of claim or amended proof of claim filed before the filing deadline under Bankruptcy Rule 3002(c) controls
           over any contrary amount listed below:


                                                                       Pre-Confirmation
                                                         Estimated     Interest Rate &  Post-
                                                         Claim         Dollar Amount    Confirmation       Minimum Monthly Total Payments Plus
Creditor's Name                    Collateral            Amount        Limit (if any)   Interest Rate      Payment Amount Interest



Global Lending Services LLC        2018 Chrysler 300 S   $17,021.00    13.30%               13.30%         $337              $23,767.25


      2.   Secured Claims in which § 506 Valuation is Applicable

           ☒    None. If “None” is checked, you do not need to complete or include the rest of § 6(B)(2).

C.    Surrender of Collateral

      ☐    None. If “None” is checked, you do not need to complete or include the rest of § 6(C).

      The Debtor(s) surrender to each creditor listed below the collateral that secures the creditor’s claim. Any secured
      claim filed by creditors listed below will be deemed satisfied in full through surrender of the collateral. The Debtor(s)
      request that upon confirmation of this plan the stay under 11 U.S.C. § 362(a) be terminated as to the collateral only
      and the stay under § 1301 be terminated in all respects.


      Creditor's Name                                        Collateral to be Surrendered


      Bankers Healthcare Group, LLC/Bank of Tioga            Ceiling Fan Inventory

D.    Lien Avoidance and Lien Stripping
      ☒    None. If “None” is checked, you do not need to complete or include the rest of § 6(D).


     Part 7:            Treatment of Executory Contracts and Leases

☒     None. If “None” is checked, you do not need to complete or include the rest of Part 7.


     Part 8:            Treatment of Co-Signed Unsecured Debts

☒     None. If “None” is checked, you do not need to complete or include the rest of Part 8.


     Part 9:            Treatment of Unsecured Claims

Unsecured claims will be paid pro rata from remaining funds.


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     Part 10:         Additional Provisions

1.    If no objection to confirmation is filed, the court may confirm this plan without further hearing.
2.    Property of the estate, including the Debtor(s)’ current and future income, will revest in the Debtor(s) after a discharge
      is entered, and the Debtor(s) will have the sole right to use and possess property of the estate during this case.
3.    To obtain distributions under this plan, a creditor must file a proof of claim no later than 70 days after the petition is
      filed, except as provided in Rule 3002(c) of the Federal Rules of Bankruptcy Procedure.

4.    Unless otherwise provided in this plan or ordered by the court, the holder of each allowed secured claim provided
      under this plan will retain the lien securing its claim under 11 U.S.C. § 1325(a)(5)(B).
5.    After the bar date to file a proof of claim for non-governmental units passes, limited notice/service is approved for all
      post-confirmation motions, including applications for fees, amended plans, and other motions. Any motion must be
      served on all parties in interest. For purposes of this limited notice provision, a “party in interest” is a party directly
      affected by the motion, a creditor who filed a proof of claim, a party who filed a request for notice, any governmental
      agency or unit that is a creditor, and all secured or priority creditors. Any pleading filed with limited notice must include
      a certificate of service that specifically states it was served with limited notice on all parties in interest under Neb. R.
      Bankr. P. 9013-1(E)(1). If a certificate of service is not filed, the motion will be deferred or denied.


     Part 11:         Nonstandard Plan Provisions

Nonstandard plan provisions must be set forth below. A nonstandard provision is a provision not otherwise included in, or
which deviates from, this Local Form. Nonstandard provisions contained in any other Part of this plan are not effective.

The following plan provisions are effective only if the Debtor(s) checked the box “Included” in the Notice section above.

 *    Home mortgage claims: the amount of pre-petition arrears, if any, is determined by the proof of claim, subject to the
      right of the debtor(s) to object to the amount set forth in the claim.
 *    Debtor will turn over his annual NET bonus to the Trustee each year, in addition to the base amount listed above.




                                                     Notice of Resistance Deadline

Any resistance to this plan or request for a hearing must be filed with the bankruptcy clerk (see original notice of
bankruptcy for the address) and served on the attorney for the Debtor(s) at the address listed below (or served on the
Debtor(s), if not represented by an attorney), on or before:
          Check one:

          ☐     14 days after the conclusion of the meeting of creditors; or

          ☒      08/20/24        (Use a specific calendar date which is at least 21 days after the date the plan is filed with
                                 the court).
If a resistance or request for a hearing is timely filed and served, the court will handle the resistance under Neb. R. Bankr.
P. 3015-2. If no objection to confirmation is filed, the court may confirm this plan without further hearing.



                                                           Certificate of Service

On 07/08/24 , the undersigned mailed a copy of this plan to all creditors, parties in interest, and those requesting
notice, by first class United States mail, postage prepaid. The parties to whom notice was mailed are either listed below
or on the attached mailing matrix. The undersigned relies on the CM/ECF system of the United States Bankruptcy Court
to serve: Erin M. McCartney, Standing Chapter 13 Trustee, District of Nebraska.

                    Dated:    07/08/24

                                                                                    Casey Michael Timm

                                                                                    Debtor(s)

                                                                               By: /s/ Johnny J. Turco



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                                                                                 Johnny J. Turco, #26867
                                                                                 John T. Turco & Associates, PC, LLO
                                                                                 2580 S 90th St, Ste 100
                                                                                 Omaha, NE 68124
                                                                                 Phone: (402) 933-8600
                                                                                 Fax:    (402) 934-2848
                                                                                 Johnny.Turco@JohnTurcoLaw.com
                                                                                 Attorney for Debtor(s)



* By filing this document, the attorney for the Debtor(s) or the Debtor(s) themselves, if not represented by an attorney
certify(ies), that the wording and order of the provisions in this Chapter 13 plan are identical to those contained in the Local
Form 3015-1 Chapter 13 Plan for the United States Bankruptcy Court for the District of Nebraska, other than any
nonstandard provisions included in PART 11.




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Label Matrix for local noticing              American Express NationalPage
                                                  Document             Bank 7 of 8          Casey Michael Timm
0867-8                                       c/o Zwicker & Associates, P.C.                 14712 Erskine St
Case 24-80525-BSK                            80 Minuteman Road                              Omaha, NE 68116-5121
District of Nebraska                         P.O. Box 9043
Omaha Office                                 Andover, MA 01810-0943
Mon Jul 8 15:38:40 CDT 2024
Amazon                                       Amex                                           (p)BANK OF AMERICA
410 Terry Ave N                              Correspondence/Bankruptcy                      PO BOX 982238
Seattle, WA 98109-5210                       Po Box 981540                                  EL PASO TX 79998-2238
                                             El Paso, TX 79998-1540


(p)BANKERS HEALTHCARE GROUP LLC              Bankers Healthcare Group, LLC (BHG)            Boys Town Research Hospital
ATTN BANKRUPTCY DEPT                         201 Solar St                                   PO BOX 130
201 SOLAR STREET                             Syracuse, NY 13204-1425                        Boys Town, NE 68010-0130
SYRACUSE NY 13204-1425


Centris Fed Credit Union                     (p)JPMORGAN CHASE BANK N A                     (p)CALI LAW OFFICES LLC
Attn: Bankruptcy                             BANKRUPTCY MAIL INTAKE TEAM                    201 SOLAR STREET
11825 Q St                                   700 KANSAS LANE FLOOR 01                       SYRACUSE NY 13204-1425
Omaha, NE 68137-3503                         MONROE LA 71203-4774


Citibank                                     Discover Bank                                  Discover Financial
Citicorp Cr Srvs/Centralized Bankruptcy      PO Box 3025                                    Attn: Bankruptcy
Po Box 790040                                New Albany, OH 43054-3025                      Po Box 3025
St Louis, MO 63179-0040                                                                     New Albany, OH 43054-3025


Douglas County Attorney                      Douglas County Treasurer                       (p)GLOBAL LENDING SERVICES LLC
1819 Farnam Street                           909 Civic Center                               1200 BROOKFIELD BLVD STE 300
Civic Center, Suite 909                      1819 Farnam Street                             GREENVILLE SC 29607-6583
Omaha, NE 68183-1000                         Omaha, NE 68183-1000


Internal Revenue Service                     Kenneth Zelasney                               LightStream, a division of Truist Bank
Centralized Insolvency Operation             PO Box 3                                       Po Box 1847
P.O. Box 7346                                Treynor, IA 51575-0003                         Wilson, NC 27894-1847
Philadelphia, PA 19101-7346


Lilly Timm                                   Metro Credit Union                             (p)NEBRASKA DEPARTMENT OF REVENUE
14712 Erskine St                             Attn: Bankruptcy                               ATTN ATTENTION BANKRUPTCY UNIT
Omaha, NE 68116-5121                         Po Box 390696                                  PO BOX 94818
                                             Omaha, NE 68139-0696                           LINCOLN NE 68509-4818


Nebraska Spine Hospital                      Pentagon FCU                                   Public Storage
6901 N 72nd St, Suite 20300                  Attn: Bankruptcy                               4110 N 129th St
Omaha, NE 68122-1755                         Po Box 1432                                    Omaha, NE 68164-1809
                                             Alexandria, VA 22313-1432


Sofi Bank, National Association              Sofi Lending Corp/MOHELA                       The Bank of Tioga
Resurgent Capital Services                   Attn: Bankruptcy                               7 N Main St
PO Box 10587                                 Po Box 1022                                    Tioga, ND 58852
Greenville, SC 29603-0587                    Chesterfield, MO 63006-1022
               Case 24-80525-BSK              Doc 8       Filed 07/08/24         Entered 07/08/24 15:53:02             Desc Main
Truist Bank                                          (p)USDocument
                                                           BANK              Page 8 of 8                  (p)VERIDIAN CREDIT UNION
Attn: Bankruptcy                                     PO BOX 5229                                          P O BOX 6000
214 N Tryon St                                       CINCINNATI OH 45201-5229                             WATERLOO IA 50704-6000
Charlotte, VA 28202-2374


Verizon                                              West Gate Bank
500 Techknowledge Dr                                 6003 Old Cheney Rd
Ste 500                                              Lincoln, NE 68516-3591
Weldon Spring, MO 63304




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Bank Of America                                      Bankers Healthcare Group, LLC                        Chase Card Services
Attention: Recovery Department                       201 East Las Olas Blvd                               Attn: Bankruptcy
4161 Peidmont Pkwy.                                  Suite 1110                                           P.O. 15298
Greensboro, NC 27410                                 Fort Lauderdale, FL 33301                            Wilmington, DE 19850


(d)Chase Card Services                               Christopher J. Cali, Esq.                            Global Lending Services LLC
Attn: Bankruptcy                                     Cali Law Offices, LLC                                Attn: Bankruptcy
Po Box 15298                                         201 Solar St                                         Po Box 10437
Wilmington, DE 19850                                 Syracuse, NY 13204                                   Greenville, SC 29603


Nebraska Department of Revenue                       US Bank                                              Veridian Credit Union
Attn: Bankruptcy Unit                                Bankruptcy Department                                Attn: Bankruptcy
P.O. Box 94818                                       PO Box 5229                                          P.O. Box 6000
Lincoln, NE 68509-4818                               Cincinnati, OH 45201                                 Waterloo, IA 50704


End of Label Matrix
Mailable recipients      34
Bypassed recipients       0
Total                    34
